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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )         Criminal Action No. 6: 13-027-DCR
                                                     )
 V.                                                  )
                                                     )
 CRYSTAL D. MILLS,                                   )           MEMORANDUM OPINION
                                                     )               AND ORDER
       Defendant.                                    )

                                        ***    ***       ***    ***

      Defendant Crystal D. Mills is serving a 48-month term of imprisonment following her

guilty plea on January 3, 2014, to one charge of conspiracy to manufacture a mixture or

substance containing methamphetamine. [Record Nos. 240, 352] This was a lesser included

charge of the Superseding Indictment.           [Record No. 352]          Mills was one of thirteen

defendants charged in the conspiracy. Mills admitted that she sold pseudoephedrine to co-

Defendant Joseph Johnson for $50 per box on six or seven occasions between August 2009

and July 2011. This correlates to approximately 39 grams of pseudoephedrine. She further

admitted   that     she   knew   that    the    pseudoephedrine         was   used   to   manufacture

methamphetamine.

      Mills sent a letter to the undersigned, which is construed as a motion, requesting

reduction of her sentence under Amendment 782 to the United States Sentencing Guidelines




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and 18 U.S.C. § 3582(c)(2), and requesting appointment of counsel.1 After reviewing Mills’

motion and documentation submitted, the Court declines to grant the relief requested.

        Appointment of counsel and a hearing are not necessary to resolve the defendant’s

motion. There is no constitutional right to counsel or to a hearing in proceedings filed under

18 U.S.C. § 3582(c)(2). United States v. Whitebird, 55 F.3d 1007 (5th Cir. 1995); United

States v. Townsend, 98 F.3d 510 (9th Cir. 1996); United States v. Webb, 565 F.3d 789 (11th

Cir. 2009); and United States v. Legree, 205 F.3d 724 (4th Cir. 2000), cert. denied, 531 U.S.

1080 (2001). A motion filed under 18 U.S.C. § 3582(c)(2), “is simply a vehicle through

which appropriately sentenced prisoners can urge the court to exercise leniency to give

[them] the benefits of an amendment to the U.S. Sentencing Guideline Manual. As such, it

does not entitle [a prisoner] to appointed counsel.”                Townsend, 98 F.3d at 513 (citing

Whitebird, 55 F.3d at 1011). Instead, the district court has discretion to determine whether

appointment of counsel is warranted. In this case, the record and information possessed by

the Court from the original sentencing is sufficient to consider any motion filed under 18

U.S.C. § 3582(c)(2), appointment of counsel would be unnecessary and a waste of resources.

        Turning to the merits of the defendant’s request, a reduction of Mills’ sentence is

unwarranted under the circumstances of the case. The issue presented is whether a sentence

reduction would be warranted in light of the undisputed and all relevant statutory factors to

be considered under 18 U.S.C. § 3553. This includes evaluation of the seriousness of the

crime, the personal history and characteristics of the defendant, the defendant’s acceptance or


1       The Clerk of the Court will be directed to file this letter in the record.

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responsibility and cooperation, specific and general deterrence, and the need to protect the

public from potential, future crimes by Mills. In her letter, Mills outlines a number of

positive developments since she was sentenced one year ago. In relevant part, Mills has taken

the Court’s advice to heart and obtained her GED, completed the third phase of the

Residential Drug Abuse Program (“RDAP”), taken classes in keyboarding and re-entry, and

attended job fairs.    Mills reports that she has also benefitted from RDAP.          Mills is

commended for her efforts. However, these efforts do not overcome the Court’s conclusion

that the sentence imposed is the minimum term necessary to meet all relevant factors of §

3553.

        Mills’ Base Offense Level at the time of her sentencing was calculated to be 26. She

them received a three-level reduction for acceptance of responsibility. Thus, her Total

Offense Level was 23. Mills was assessed with two criminal history points for two charges

of an unlawful transaction with a minor and a contempt of court charge, which resulted in a

criminal history category of II. Her resulting non-binding guideline range was 51 to 63

months. At sentencing, however, the Court granted Mills’ oral motion for a downward

variance. A sentence of 48 months was determined to be sufficient, but not greater than

necessary, to satisfy the factors and goals set forth in § 3553.

        The Court’s conclusion has not changed from that at sentencing. The Court awarded

Mills a downward variance of approximately nine months below what would ordinarily be

imposed as a result of the positive history and characteristics of the defendant. Mills was not

eligible for the safety valve due to a conviction for contempt of court, although the


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underlying criminal charge was subsequently dismissed by the state court and related to the

offense of conviction in this case.    A sentence of 48 months, followed by 48 months of

supervised release, but no less, will provide sufficient deterrence.       However, a lesser

sentence would unduly diminish the seriousness of Mills’ offense. Further, Mills criminal

history included conviction of two counts of unlawful transactions with a minor, which

demonstrates that she presented a danger to the community and poses a significant likelihood

of reoffending notwithstanding the positive steps she has taken while incarcerated.          A

reduced sentence would fail to provide sufficient punishment under the circumstances of this

case. Mills knowingly participated in a significant conspiracy that produced a large amount

of methamphetamine which was distributed in the district. The Court has considered the

high costs of incarceration, but finds that it does not outweigh the other considerations

outlined above. In short, the Court again finds that a sentence of 48 months, no more and no

less, is sufficient but not greater than necessary to attain the statutory goals and objectives

outlined in § 3553.

       For the foregoing reasons, it is hereby

       ORDERED as follows:

       1.     The Clerk of Court shall FILE Defendant Crystal D. Mills’ letter, dated April

20, 2015, which has been construed as a motion, in the record.

       2.     That the motion to reduce the defendant’s sentence and motion to appoint

counsel are DENIED.




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    This 1st day of May, 2015.




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